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                                                                          APPEAL,CLOSED,TYPE−C
                                 U.S. District Court
                      District of Columbia (Washington, DC)
                CIVIL DOCKET FOR CASE #: 1:16−cv−02255−CRC

CITIZENS FOR RESPONSIBILITY AND ETHICS IN                     Date Filed: 11/14/2016
WASHINGTON et al v. FEDERAL ELECTION                          Date Terminated: 03/20/2018
COMMISSION                                                    Jury Demand: None
Assigned to: Judge Christopher R. Cooper                      Nature of Suit: 890 Other Statutory
 Case: 1:18−cv−00945−CRC                                      Actions
Cause: 02:431 Fed. Election Commission: Failure Enforce C     Jurisdiction: U.S. Government Defendant
Plaintiff
CITIZENS FOR RESPONSIBILITY                    represented by Stuart C. McPhail
AND ETHICS IN WASHINGTON                                      CITIZENS FOR RESPONSIBILITY
                                                              AND ETHICS IN WASHINGTON
                                                              455 Massachusetts Avenue, NW
                                                              6th Floor
                                                              Washington, DC 20001
                                                              (202) 408−5565
                                                              Fax: (202) 588−5020
                                                              Email: smcphail@citizensforethics.org
                                                              ATTORNEY TO BE NOTICED

Plaintiff
MELANIE SLOAN                                  represented by Stuart C. McPhail
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
FEDERAL ELECTION                               represented by Charles Kitcher
COMMISSION                                                    FEDERAL ELECTION COMMISSION
                                                              1050 First Street, NE
                                                              Washington, DC 20463
                                                              (202) 694−1589
                                                              Fax: (202) 219−3923
                                                              Email: ckitcher@fec.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Erin R Chlopak
                                                              FEDERAL ELECTION COMMISSION
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                                                              Washington, DC 20463
                                                              (202) 694−1572
                                                              Fax: (202) 219−3923
                                                              Email: echlopak@fec.gov
                                                                                                        1
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                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Gregory John Mueller
                                                            FEDERAL ELECTION COMMISSION
                                                            1050 First Street, NE
                                                            Washington, DC 20463
                                                            (202) 694−1650
                                                            Fax: (202) 219−3923
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                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Kevin Deeley
                                                            FEDERAL ELECTION COMMISSION
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                                                            Washington, DC 20463
                                                            (202) 694−1650
                                                            Fax: (202) 219−3923
                                                            Email: kdeeley@fec.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED


V.
Intervenor Defendant
AMERICAN ACTION NETWORK,                     represented by Claire J. Evans
INC.                                                        WILEY REIN LLP
                                                            1776 K Street, NW
                                                            Washington, DC 20006
                                                            (202) 719−7022
                                                            Email: cevans@wileyrein.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED


 Date Filed    #   Page Docket Text
 11/14/2016    1        COMPLAINT against FEDERAL ELECTION COMMISSION ( Filing fee $
                        400 receipt number 0090−4743444) filed by CITIZENS FOR
                        RESPONSIBILITY AND ETHICS IN WASHINGTON, MELANIE SLOAN.
                        (Attachments: # 1 Exhibit 1, # 2 Civil Cover Sheet, # 3 Summons to FEC, # 4
                        Summons to AG, # 5 Summons to USAO)(McPhail, Stuart) (Entered:
                        11/14/2016)
 11/14/2016    2        NOTICE OF RELATED CASE by CITIZENS FOR RESPONSIBILITY AND
                        ETHICS IN WASHINGTON, MELANIE SLOAN. Case related to Case No.
                        14−cv−1419. (McPhail, Stuart) (Entered: 11/14/2016)
 11/14/2016    3        LCvR 7.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                        Financial Interests by CITIZENS FOR RESPONSIBILITY AND ETHICS IN
                        WASHINGTON (McPhail, Stuart) (Entered: 11/14/2016)

                                                                                                      2
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11/16/2016          Case Assigned to Judge Christopher R. Cooper. (sb) (Entered: 11/16/2016)
11/16/2016   4      SUMMONS (3) Issued Electronically as to FEDERAL ELECTION
                    COMMISSION, U.S. Attorney and U.S. Attorney General (Attachment: # 1
                    Consent Form)(sb) (Entered: 11/16/2016)
01/18/2017   5      RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as
                    to the United States Attorney. Date of Service Upon United States Attorney on
                    1/18/2017. ( Answer due for ALL FEDERAL DEFENDANTS by 3/19/2017.),
                    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed
                    on United States Attorney General. Date of Service Upon United States
                    Attorney General 1/18/2017., RETURN OF SERVICE/AFFIDAVIT of
                    Summons and Complaint Executed. FEDERAL ELECTION COMMISSION
                    served on 1/17/2017 (McPhail, Stuart) (Entered: 01/18/2017)
03/10/2017   6      NOTICE of Appearance by Gregory John Mueller on behalf of FEDERAL
                    ELECTION COMMISSION (Mueller, Gregory) (Entered: 03/10/2017)
03/10/2017   7      Joint MOTION for Extension of Time to File Answer re 1 Complaint, and
                    Stipulation by CITIZENS FOR RESPONSIBILITY AND ETHICS IN
                    WASHINGTON, MELANIE SLOAN (McPhail, Stuart) (Entered: 03/10/2017)
03/15/2017          MINUTE ORDER granting 7 Motion for Extension of Time to Answer: It is
                    hereby ORDERED that Defendant shall respond to Plaintiff's Complaint no
                    later than April 18, 2017. Signed by Judge Christopher R. Cooper on 3/15/2017.
                    (lccrc1) (Entered: 03/15/2017)
03/16/2017          Set/Reset Deadlines: Answer due by 4/18/2017. (zlsj) (Entered: 03/16/2017)
04/14/2017   8      AMENDED COMPLAINT against FEDERAL ELECTION COMMISSION
                    filed by CITIZENS FOR RESPONSIBILITY AND ETHICS IN
                    WASHINGTON, MELANIE SLOAN. (Attachments: # 1 Exhibit, # 2
                    Certificate of Service)(McPhail, Stuart) (Entered: 04/14/2017)
04/28/2017   9      Unopposed MOTION to Intervene by AMERICAN ACTION NETWORK,
                    INC. (Attachments: # 1 Proposed Answer, # 2 Proposed Order)(Evans, Claire)
                    (Entered: 04/28/2017)
04/28/2017   10     Corporate Disclosure Statement by AMERICAN ACTION NETWORK, INC..
                    (Evans, Claire) (Entered: 04/28/2017)
04/28/2017   11     NOTICE of Appearance by Charles Kitcher on behalf of FEDERAL
                    ELECTION COMMISSION (Kitcher, Charles) (Entered: 04/28/2017)
04/28/2017   12     NOTICE of Appearance by Gregory John Mueller on behalf of FEDERAL
                    ELECTION COMMISSION (Mueller, Gregory) (Entered: 04/28/2017)
04/28/2017   13     NOTICE of Appearance by Erin R Chlopak on behalf of FEDERAL
                    ELECTION COMMISSION (Chlopak, Erin) (Entered: 04/28/2017)
04/28/2017   14     NOTICE of Appearance by Kevin Deeley on behalf of FEDERAL ELECTION
                    COMMISSION (Deeley, Kevin) (Entered: 04/28/2017)
04/28/2017   15     ANSWER to 8 Amended Complaint by FEDERAL ELECTION
                    COMMISSION. Related document: 8 Amended Complaint filed by CITIZENS
                    FOR RESPONSIBILITY AND ETHICS IN WASHINGTON, MELANIE
                    SLOAN.(Mueller, Gregory) (Entered: 04/28/2017)
                                                                                                     3
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05/01/2017   16     ORDER granting 9 Motion to Intervene. Signed by Judge Christopher R.
                    Cooper on 5/1/2017. (lccrc1) (Entered: 05/01/2017)
05/01/2017          MINUTE ORDER: Before the Court in this case challenging administrative
                    action are a complaint and an answer for each Defendant. It is hereby
                    ORDERED that the parties shall promptly confer and, no later than May 16,
                    2017, file a joint proposed schedule, or separate proposed schedules if an
                    agreement cannot be reached, for further proceedings. Signed by Judge
                    Christopher R. Cooper on 5/1/2017. (lccrc1) (Entered: 05/01/2017)
05/01/2017          Set/Reset Deadlines: Proposed Briefing Schedule due by 5/16/2017. (lsj)
                    (Entered: 05/01/2017)
05/16/2017   17     Consent MOTION for Extension of Time to Jointly Propose Schedule by
                    FEDERAL ELECTION COMMISSION (Attachments: # 1 Text of Proposed
                    Order)(Mueller, Gregory) (Entered: 05/16/2017)
05/17/2017          MINUTE ORDER granting 17 Motion for Extension of Time: It is hereby
                    ORDERED that the parties shall file a joint proposed schedule for further
                    proceedings no later than May 31, 2017. Signed by Judge Christopher R.
                    Cooper on 5/17/2017. (lccrc1) (Entered: 05/17/2017)
05/17/2017          Set/Reset Deadlines: Joint Proposed Briefing Schedule due by 5/31/2017 (lsj)
                    (Entered: 05/17/2017)
05/30/2017   18     NOTICE of Filing of its Certified List of the Contents of the Underlying
                    Administrative Record by FEDERAL ELECTION COMMISSION
                    (Attachments: # 1 Exhibit −− Certified List of Contents of Administrative
                    Record in MUR 6589R, # 2 Exhibit −− Certified List of Contents of
                    Administrative Record in MUR 6589 filed in CREW v. FEC, 14−1419
                    (D.D.C.))(Mueller, Gregory) (Entered: 05/30/2017)
05/31/2017   19     PROPOSED BRIEFING SCHEDULE and Meet and Confer Statement by
                    FEDERAL ELECTION COMMISSION. (Attachments: # 1 Text of Proposed
                    Order, # 2 Exhibit 1 −− Order, NRCC, No. 96−2295, 10−7−96, # 3 Exhibit 2
                    −− Order, NRCC, No. 96−2295, 10−23−96, # 4 Exhibit 3 −− Order, DSCC,
                    96−2184, 9−26−96, # 5 Exhibit 4 −− Order, DSCC, 95−349, 05−15−95, # 6
                    Exhibit 5 −− Order, Op. and Order, Common Cause, 87−2224, 2−10−88, # 7
                    Exhibit 6 −− Stip and Order, 96−764, 8−30−96)(Mueller, Gregory) (Attachment
                    5 replaced on 6/1/2017) (td). (Attachment 6 replaced on 6/1/2017) (td).
                    (Attachment 6 replaced on 6/1/2017) (td). (Attachment 6 replaced on 6/1/2017)
                    (td). (Entered: 05/31/2017)
05/31/2017   20     PROPOSED BRIEFING SCHEDULE and Meet and Confer Statement by
                    AMERICAN ACTION NETWORK, INC.. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3)(Evans, Claire) (Entered: 05/31/2017)
05/31/2017   21     PROPOSED BRIEFING SCHEDULE and Meet and Confer Statement by
                    CITIZENS FOR RESPONSIBILITY AND ETHICS IN WASHINGTON,
                    MELANIE SLOAN. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Text of
                    Proposed Order)(McPhail, Stuart) (Entered: 05/31/2017)
05/31/2017   22     MEET AND CONFER STATEMENT. (See Docket Entries 19 and 20 to view
                    document(s) (jf) (Entered: 06/01/2017)
06/14/2017   23
                                                                                                    4
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                    SCHEDULING ORDER: It is hereby ORDERED that briefing in this case
                    proceed according to the schedule in the accompanying ORDER. Signed by
                    Judge Christopher R. Cooper on 6/14/2017. (lccrc1) (Entered: 06/14/2017)
06/28/2017   24     Unopposed MOTION for Protective Order by FEDERAL ELECTION
                    COMMISSION (Attachments: # 1 Text of Proposed Order)(Mueller, Gregory)
                    (Entered: 06/28/2017)
07/06/2017   25     Consent MOTION to Amend/Correct the Scheduling Order by AMERICAN
                    ACTION NETWORK, INC. (Attachments: # 1 Text of Proposed Order)(Evans,
                    Claire) Modified event title on 7/7/2017 (znmw). (Entered: 07/06/2017)
07/06/2017   26     ORDER granting 24 Motion for Protective Order. Signed by Judge Christopher
                    R. Cooper on 7/6/2017. (lccrc1) (Entered: 07/06/2017)
07/10/2017   27     ORDER granting 25 Motion to Amend/Correct: It is hereby ORDERED that
                    this case shall proceed according to the schedule in the accompanying Amended
                    Scheduling Order. Signed by Judge Christopher R. Cooper on 7/10/2017.
                    (lccrc1) (Entered: 07/10/2017)
08/04/2017   28     MOTION for Summary Judgment and REDACTED Memorandum in Support
                    by FEDERAL ELECTION COMMISSION (Attachments: # 1 Declaration
                    REDACTED Declaration of Shanna M. Reulbach, # 2 Text of Proposed
                    Order)(Kitcher, Charles) (Entered: 08/04/2017)
08/04/2017   29     SEALED DOCUMENT filed by FEDERAL ELECTION COMMISSION re 28
                    MOTION for Summary Judgment and REDACTED Memorandum in Support
                    (This document is SEALED and only available to authorized persons.)
                    (Attachments: # 1 Declaration Declaration of Shanna M. Reulbach)(Kitcher,
                    Charles) (Entered: 08/04/2017)
08/04/2017   30     MOTION for Summary Judgment by AMERICAN ACTION NETWORK,
                    INC. (Attachments: # 1 Text of Proposed Order)(Evans, Claire) (Entered:
                    08/04/2017)
09/26/2017   31     SEALED MOTION filed by CITIZENS FOR RESPONSIBILITY AND
                    ETHICS IN WASHINGTON, MELANIE SLOAN, SEALED OPPOSITION
                    filed by CITIZENS FOR RESPONSIBILITY AND ETHICS IN
                    WASHINGTON, MELANIE SLOAN. re 30 MOTION for Summary Judgment
                    , 28 MOTION for Summary Judgment and REDACTED Memorandum in
                    Support (Attachments: # 1 Declaration of Stuart McPhail, # 2 Exhibit 1, # 3
                    Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Text of Proposed
                    Order)(McPhail, Stuart) (Entered: 09/26/2017)
09/26/2017   32     MOTION for Summary Judgment and REDACTED Memorandum in Support
                    by CITIZENS FOR RESPONSIBILITY AND ETHICS IN WASHINGTON,
                    MELANIE SLOAN (Attachments: # 1 Declaration of Stuart McPhail, # 2
                    Exhibit 1 (Filed Under Seal), # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6
                    Exhibit 5, # 7 Text of Proposed Order)(McPhail, Stuart) (Entered: 09/26/2017)
09/26/2017   33     Memorandum in opposition to re 30 MOTION for Summary Judgment , 28
                    MOTION for Summary Judgment and REDACTED Memorandum in Support
                    with REDACTIONS (same as Plaintiffs' Motion for Summary Judgment) filed
                    by CITIZENS FOR RESPONSIBILITY AND ETHICS IN WASHINGTON,
                    MELANIE SLOAN. (Attachments: # 1 Declaration of Stuart McPhail, # 2

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                    Exhibit 1 (Filed Under Seal), # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6
                    Exhibit 5, # 7 Text of Proposed Order)(McPhail, Stuart) (Entered: 09/26/2017)
10/27/2017   34     Consent MOTION for Extension of Time to File Response/Reply by
                    FEDERAL ELECTION COMMISSION (Attachments: # 1 Text of Proposed
                    Order)(Mueller, Gregory) (Entered: 10/27/2017)
10/30/2017   35     ORDER granting 34 Defendant's Motion to Amend Scheduling Order.
                    Defendant Federal Election Commission's combined opposition/reply is due by
                    11/20/2017; Intervenor−Defendant AAN's combined opposition/reply is also
                    due by 11/20/2017; Plaintiffs reply is due by 1/9/2018; joint appendix is due by
                    1/30/2018. Signed by Judge Christopher R. Cooper on 10/30/2017. (lccrc1)
                    (Entered: 10/30/2017)
11/20/2017   36     SEALED REPLY TO OPPOSITION filed by AMERICAN ACTION
                    NETWORK, INC. re 30 MOTION for Summary Judgment (This document is
                    SEALED and only available to authorized persons.)(Evans, Claire) (Entered:
                    11/20/2017)
11/20/2017   37     SEALED OPPOSITION filed by AMERICAN ACTION NETWORK, INC.. re
                    31 Sealed Motion,, Sealed Opposition, (Attachments: # 1 Text of Proposed
                    Order)(Evans, Claire) (Entered: 11/20/2017)
11/20/2017   38     REPLY to opposition to motion re 30 MOTION for Summary Judgment
                    (REDACTED) filed by AMERICAN ACTION NETWORK, INC.. (Evans,
                    Claire) (Entered: 11/20/2017)
11/20/2017   39     Memorandum in opposition to re 32 MOTION for Summary Judgment and
                    REDACTED Memorandum in Support (REDACTED) filed by AMERICAN
                    ACTION NETWORK, INC.. (Attachments: # 1 Text of Proposed
                    Order)(Evans, Claire) (Entered: 11/20/2017)
11/20/2017   40     REPLY to opposition to motion re 28 MOTION for Summary Judgment and
                    REDACTED Memorandum in Support REDACTED VERSION filed by
                    FEDERAL ELECTION COMMISSION. (Attachments: # 1 Exhibit, # 2
                    Supplemental Declaration of Shanna Reulbach)(Mueller, Gregory) (Entered:
                    11/20/2017)
11/20/2017   41     SEALED REPLY TO OPPOSITION filed by FEDERAL ELECTION
                    COMMISSION re 31 Sealed Motion,, Sealed Opposition, (This document is
                    SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit,
                    # 2 Supplemental Declaration of Shanna Reulbach)(Mueller, Gregory)
                    (Entered: 11/20/2017)
11/20/2017   42     Memorandum in opposition to re 32 MOTION for Summary Judgment and
                    REDACTED Memorandum in Support REDACTED VERSION (same as FEC's
                    Reply) filed by FEDERAL ELECTION COMMISSION. (Attachments: # 1
                    Exhibit, # 2 Supplemental Declaration of Shanna Reulbach, # 3 Text of
                    Proposed Order)(Mueller, Gregory) (Entered: 11/20/2017)
11/20/2017   43     SEALED OPPOSITION filed by FEDERAL ELECTION COMMISSION. re
                    31 Sealed Motion,, Sealed Opposition, (Attachments: # 1 Exhibit, # 2
                    Supplemental Declaration of Shanna Reulbach, # 3 Text of Proposed
                    Order)(Mueller, Gregory) (Entered: 11/20/2017)
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                     STIPULATION OF PARTIAL DISMISSAL WITHOUT PREJUDICE by
                     CITIZENS FOR RESPONSIBILITY AND ETHICS IN WASHINGTON,
                     MELANIE SLOAN. (Attachments: # 1 Text of Proposed Order)(McPhail,
                     Stuart) (Entered: 01/05/2018)
01/09/2018   45      REPLY to opposition to motion re 32 MOTION for Summary Judgment and
                     REDACTED Memorandum in Support filed by CITIZENS FOR
                     RESPONSIBILITY AND ETHICS IN WASHINGTON, MELANIE SLOAN.
                     (Attachments: # 1 Declaration of Stuart McPhail, # 2 Exhibit 1, # 3 Exhibit 2, #
                     4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                     Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, #
                     14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit
                     17)(McPhail, Stuart) (Entered: 01/09/2018)
01/30/2018   46      JOINT APPENDIX by CITIZENS FOR RESPONSIBILITY AND ETHICS IN
                     WASHINGTON, MELANIE SLOAN. (Attachments: # 1 Appendix Part 2, # 2
                     Appendix Part 3)(McPhail, Stuart) (Entered: 01/30/2018)
03/20/2018   47   40 ORDER denying 28 Defendant Federal Election Commission's Motion for
                     Summary Judgment; denying 30 Intervenor−Defendant American Action
                     Network's Motion for Summary Judgment; and granting 31 , 32 Plaintiffs'
                     Cross−Motion for Summary Judgment. Signed by Judge Christopher R. Cooper
                     on 3/20/2018. (lccrc1) (Entered: 03/20/2018)
03/20/2018   48   10 MEMORANDUM OPINION re 47 Order. Signed by Judge Christopher R.
                     Cooper on 3/20/2018. (lccrc1) (Entered: 03/20/2018)
05/04/2018   49    8 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 47 Order on Motion for
                     Summary Judgment,,,,, 48 Memorandum & Opinion by AMERICAN ACTION
                     NETWORK, INC.. Filing fee $ 505, receipt number 0090−5463842. Fee Status:
                     Fee Paid. Parties have been notified. (Evans, Claire) (Entered: 05/04/2018)




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON, et al.,
                             Plaintiffs,
                v.                                        Civil No. 16-cv-2255 (CRC)
FEDERAL ELECTION COMMISSION,
                             Defendant,
AMERICAN ACTION NETWORK,
                       Intervenor-Defendant.

                                    NOTICE OF APPEAL

       Intervenor-Defendant American Action Network appeals to the United States Court of

Appeals for the District of Columbia Circuit from the March 20, 2018 judgment of the district

court (Dkt. Nos. 47 (order) and 48 (memorandum opinion)) granting Plaintiffs’ cross-motion for

summary judgment and denying the Federal Election Commission’s and American Action

Network’s motions for summary judgment, as well as from all orders and rulings merged therein,

including without limitation the September 19, 2016 memorandum opinion and order entered in

related Case No. 14-cv-01419 (CRC) at Dkt. Nos. 52 (memorandum opinion) and 53 (order).

                                            Respectfully submitted,

                                            /s/ Claire J. Evans
                                            Jan Witold Baran (D.C. Bar No. 233486)
                                            Caleb P. Burns (D.C. Bar No. 474923)
                                            Claire J. Evans (D.C. Bar No. 992271)
                                            Wiley Rein LLP
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                                            Washington, DC 20006
                                            Tel.: 202.719.7000
                                            Fax: 202.719.7049

May 4, 2018                                 Counsel for American Action Network




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                               CERTIFICATE OF SERVICE
       I hereby certify that, on May 4, 2018, a true and correct copy of American Action
Network’s notice of appeal was filed and served electronically through the Court’s CM/ECF
system upon the following counsel of record:
       Charles Kitcher
       Erin R. Chlopak
       Gregory J. Mueller
       Kevin Deeley
       Federal Election Commission
       Office of General Counsel
       1050 First Street, NE
       Washington, DC 20463

       Stuart C. McPhail
       Adam J. Rappaport
       Citizens for Responsibility and Ethics in Washington
       455 Massachusetts Avenue, N.W.
       6th Floor
       Washington, DC 20001


                                                          /s/ Claire J. Evans
                                                          Claire J. Evans




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON, et al.,

                        Plaintiffs,

                        v.                         Case No. 16-cv-2255 (CRC)

 FEDERAL ELECTION COMMISSION,

                        Defendant,

 AMERICAN ACTION NETWORK, INC.,

                        Intervenor Defendant.


                                      MEMORANDUM OPINION

       This is the second in a series of cases involving the Federal Election Commission and its

(non)regulation of American Action Network, Inc. (“AAN”), a self-described “issue-oriented

action tank” that ran nearly $18 million in television advertisements just before the 2010 federal

midterm elections. Citizens for Responsibility and Ethics in Washington—a watchdog group

known as “CREW”—contends that AAN’s spending on these ads rendered it a “political

committee” as defined in the Federal Election Campaign Act of 1971. And, according to

CREW, because AAN did not register as a political committee during the relevant time period, it

evaded the Act’s recordkeeping and disclosure requirements that apply to those groups.

       In 2012, CREW filed an administrative complaint with the Commission to that effect. By

an evenly divided vote, the Commission dismissed CREW’s complaint because a majority of the

Commissioners did not find “reason to believe” that AAN violated the Act. 52 U.S.C. §

30109(a)(2). Specifically, the three controlling Commissioners concluded that AAN did not




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qualify as a political committee because it lacked a “major purpose” of nominating or electing a

candidate for federal office, Buckley v. Valeo, 424 U.S. 1, 79 (1976). This Court in a previous

decision held that dismissal “contrary to law” because it rested on an erroneous premise

regarding Buckley’s “major purpose” requirement. On remand, the Commission again dismissed

CREW’s complaint in a deadlocked decision.

       CREW then filed this suit challenging the Commission’s second dismissal as contrary to

law. Because the Court finds that the Commission’s analysis was inconsistent with the

governing statutes, it will grant summary judgment in favor of CREW and remand this matter to

the Commission.

  I.   Background

       A. Legal Background

       The Federal Election Campaign Act of 1971 (“FECA”), as substantially amended in

1974, regulates federal elections in two key ways. First, the law sets monetary limits on

contributions to political parties and candidates. See 52 U.S.C. § 30116. Second, it imposes

disclosure requirements on entities that spend money for the purpose of influencing elections,

even when that spending does not go directly to a candidate’s coffers. See id. § 30104.

        This case is about FECA’s disclosure requirements—specifically, those triggered by

spending on political advertisements. In broad terms, these disclosure requirements serve “three

important interests: providing the electorate with relevant information about the candidates and

their supporters; deterring actual corruption and discouraging the use of money for improper

purposes; and facilitating enforcement of the prohibitions in the Act.” McConnell v. FEC, 540

U.S. 93, 121 (2003) (controlling opinion of Stevens & O’Connor, J.J.).




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       Some of FECA’s disclosure requirements are triggered by certain types of

communications. For example, an entity that makes “independent expenditures”—that is, a

communication “expressly advocating the election or defeat of a clearly identified candidate,” 52

U.S.C. § 30101(17)—of over $250 in a calendar year must file a report with the Commission

containing information about itself and its contributors, id. § 30104(c).

       FECA also imposes more pervasive disclosure requirements on entities based on their

campaign-related spending patterns. As relevant here, “political committees”—commonly

referred to as “political action committees” or “PACs”—are subject to extensive, ongoing

disclosure requirements. They must appoint a treasurer, keep records with the names and

addresses of contributors, and file regular reports during a general election year with accounting

information, including the amounts spent on contributions and expenditures. Id. §§ 30102–04.

They must also register with the Federal Election Commission or face penalties. Id. §§

30104(a)–(b), 30109(d)(1).

       An entity qualifies as a political committee when it satisfies two separate conditions. The

first was imposed by Congress in the text of FECA: the entity must receive or spend more than

$1,000 in a calendar year for the purpose of influencing a federal election. Id. § 30101(4)(A),

(8)(A)(i), (9)(A)(i). 1 The second condition was imposed by the Supreme Court in Buckley v.

Valeo as a narrowing construction of the statutory definition. Under Buckley, political

committees are limited to those “organizations that are under the control of a candidate or the




       1
          More precisely, FECA defines “political committee” as “any committee, club,
association, or other group of persons which receives contributions aggregating in excess of
$1,000 during a calendar year or which makes expenditures aggregating in excess of $1,000
during a calendar year.” 52 U.S.C. § 30101(4)(A). “Contributions” and “expenditures” are both
restricted to payments made “for the purpose of influencing any election for Federal office.” Id.
§ 30101(8)(A)(i), (9)(A)(i).


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major purpose of which is the nomination or election of a candidate.” 424 U.S. at 79 (emphasis

added). A broader definition of “political committee,” the Court explained, could raise problems

of vagueness under the First Amendment by threatening the speech of “groups engaged purely in

issue discussion” and not just those engaged in “campaign related” activity. Id.

       Several decades after Buckley, Congress in the Bipartisan Campaign Reform Act of 2002

(“BCRA”) amended FECA to add important new disclosure requirements. BCRA was aimed,

among other targets, at the post-Buckley rise of corporate and union spending on ads that were

nominally related to political issues but were clearly intended to sway voters in upcoming federal

elections. See McConnell, 540 U.S. at 126–32. To capture these “so-called issue ads,” id. at

126, Congress created a new category of communications called “electioneering

communications”—television advertisements that air within 60 days of a federal election, clearly

identify a candidate running for federal office, and target the relevant electorate. 52 U.S.C. §

30104(f)(3)(A)(i). Corporations spending over $10,000 on those communications in a calendar

year must file a statement with the Commission that discloses information about the entity, the

candidates identified in the communications, the recipients of any disbursements, and any donors

who gave over $1,000 toward electioneering communications since the beginning of the

preceding calendar year. Id. § 30104(f)(2); 11 C.F.R. § 104.20(c)(9). 2 Ads that qualify as

electioneering communications must also include disclaimers with information like the name of



       2
         More specifically, FECA requires electioneering communication reports to contain “the
names and addresses of all contributors who contributed an aggregate amount of $1,000 or more
to the person making the disbursement during the period beginning on the first day of the
preceding calendar year and ending on the disclosure date.” 52 U.S.C. § 30104(f)(2)(F). With
respect to corporations like AAN, the Commission by regulation has interpreted the statute’s
reference to such contributors as limited to donations “made for the purpose of furthering
electioneering communications.” 11 C.F.R. § 104.20(c)(9) (emphasis added). The D.C. Circuit
has upheld this “purpose requirement” against challenge under the Administrative Procedure
Act. Van Hollen, Jr. v. FEC, 811 F.3d 486, 489–90 (D.C. Cir. 2016).


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the entity that paid for the ad and whether the ad was authorized by a candidate. 52 U.S.C. §

30120(a); see 11 C.F.R. § 100.11(c)(3).

       The Federal Election Commission (“FEC”), an independent agency with six

Commissioners, is responsible for enforcing FECA’s disclosure requirements. See 52 U.S.C. §

30106(b)(1). The Commission has not adopted a rule that further clarifies the meaning of

Buckley’s “major purpose” limitation. Rather, it has taken a case-by-case approach by deciding

whether particular entities have a major purpose of nominating or electing a candidate. See

Shays v. FEC, 511 F. Supp. 2d 19, 30 (D.D.C. 2006). This approach was ultimately upheld by a

fellow judge in this District against challenge under the Administrative Procedure Act. See id.

       Any person or entity may file a complaint with the Commission asserting a FECA

violation. 52 U.S.C. § 30109(a)(1). If four or more Commissioners find “reason to believe” that

FECA was or will soon be violated, then the Commission must investigate. Id. § 30109(a)(2).

Otherwise, the complaint is dismissed. See id. § 30106(c). In the event of dismissal, the

controlling group of Commissioners—here, those voting against enforcement—must provide a

statement of reasons explaining the dismissal decision. See FEC v. Nat’l Republican Senatorial

Comm. (“NRSC”), 966 F.2d 1471, 1476 (D.C. Cir. 1992). “Any party aggrieved” by an FEC

dismissal decision may petition for this Court’s review. 52 U.S.C. § 30109(a)(8)(A). If the

Court finds the statement of reasons to be contrary to law, it can direct the FEC to take action

within 30 days that “conforms with” the Court’s ruling. Id. § 30109(a)(8)(C).

       B. Factual and Procedural Background

           1. The FEC’s First Dismissal

       American Action Network (“AAN”) is a tax-exempt § 501(c)(4) civic organization. Joint

Appendix (“J.A.”) 1490–91 (ECF No. 46). The group’s stated mission is to “create, encourage




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and promote center-right policies based on the principles of freedom, limited government,

American exceptionalism, and strong national security.” J.A. 1490. To advance that mission,

AAN has sponsored educational activities and grassroots events. But the majority of its

spending throughout the period at issue in this case—July 23, 2009 through June 30, 2011 3—was

on political advertisements. Of its $27.1 million in total spending over that period, just over $4

million was devoted to independent expenditures—i.e., ads expressly advocating for or against a

federal candidate. J.A. 1765. An additional $13.7 million was devoted to electioneering

communications—i.e., ads run near an election that identify a candidate and target the relevant

electorate. Id.

       In June 2012, CREW and its then–executive director filed a complaint with the FEC

alleging that AAN’s spending near the 2010 midterms rendered it an unregistered political

committee. J.A. 1480–88. The FEC’s Office of General Counsel reviewed the complaint and

recommended that the Commission investigate it because there was reason to believe that AAN

was indeed a political committee. Id. at 1659. Nevertheless, in June 2014, the Commissioners

deadlocked three-to-three on whether to commence an investigation and, accordingly, the

Commission dismissed CREW’s complaint. Id. at 1689.

       The three controlling Commissioners—those voting against investigation—issued a

Statement of Reasons explaining that AAN was not a political committee because it did not have

a major purpose of nominating or electing a federal candidate. J.A. 1690–723. The

Commissioners first explained that, based on AAN’s organizational documents, its official

public statements, and its tax-exempt status, AAN appeared to have a “central organizational



       3
        This timespan covers AAN’s spending as reported in two of its tax returns: one return
covering July 23, 2009 through June 30, 2010; and the other covering July 1, 2010 through June
30, 2011. J.A. 1490, 1518.


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purpose” that was “issue-centric” and not focused on electing candidates. Id. at 1706–07. They

then turned to the heart of CREW’s complaint: that AAN’s spending on advertisements rendered

it a political committee. Id. at 1708. In this part of their analysis, the Commissioners relied on a

rigid distinction between “express advocacy” for a candidate—which properly counted toward

an electoral major purpose—and “issue advocacy”—which categorically did not. See id. at

1709–10. In the Commissioners’ view, the Supreme Court had interpreted the First Amendment

to require such a categorical distinction—first in Buckley and more recently in FEC v.

Wisconsin Right to Life, Inc. (“WRTL II”), 551 U.S. 449 (2007), which held that a statute

prohibiting corporations from funding electioneering communications could not, consistent with

the First Amendment, be applied to forbid the funding of “genuine issue ads” that are not “the

functional equivalent of express advocacy,” id. at 480–81. 4 See J.A. 1704–05, 1709.

       Relying on the dichotomy between express and issue advocacy from WRTL II, the

Commissioners characterized all of AAN’s ads that did not expressly advocate for a candidate

(i.e., its electioneering communications) as “genuine issue advertisements,” the $13.7 million

cost of which could not be counted toward an election-related major purpose. J.A. 1709–10.

They made this determination wholesale, without discussing the content of any individual ad. Id.

The Commissioners also considered AAN’s spending over its lifetime—mid-2009 to mid-

2011—instead of year-to-year and, in total, found that only the $4.1 million that AAN spent on

express advocacy between 2009 and 2011 was aimed to elect a candidate. Id. at 1709. In their

view, because that spending accounted for only 15% of AAN’s total expenses during that period,




       4
         A few years after WRTL II, the Supreme Court in Citizens United, 558 U.S. 310
(2010), “pulled the plug on this ban once and for all, ruling unconstitutional the prohibition on
corporate- and union-funded ‘express advocacy.’” Van Hollen Jr., 811 F.3d at 490 n.1.



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the group necessarily lacked a major purpose of nominating or electing a candidate. Id. at 1709–

10, 1716.

       CREW filed suit in this Court challenging the FEC’s dismissal of the complaint against

AAN, as well as the dismissal of a similar complaint against another organization, Americans for

Job Security (“AJS”). CREW v. FEC, 209 F. Supp. 3d 77, 80–81 (D.D.C. 2016). CREW

alleged that both dismissals violated FECA. 5 AAN and AJS intervened as additional defendants

and the parties filed cross-motions for summary judgment. Id. at 85.

       In a September 2016 decision, this Court held that both dismissals were contrary to law

and remanded them to the Commission for reconsideration. Id. at 95. As the Court explained,

the FEC’s reliance on a hard distinction between express advocacy and issue advocacy depended

on an erroneous premise: that the First Amendment required it to exclude from its consideration

all non-express advocacy in the context of disclosure requirements. Id. at 93. While the

Supreme Court in WRTL II had concededly drawn such a distinction in evaluating a ban on

corporate-sponsored electioneering communications, in McConnell and Citizens United v. FEC,

558 U.S. 310 (2010), it had expressly declined to take that approach in evaluating disclosure

requirements triggered by those communications. Id. at 89–90 (quoting Citizens United, 558

U.S. at 369). And in the wake of those cases, “federal appellate courts ha[d] resoundingly

concluded that WRTL II’s constitutional division between express advocacy and issue speech is

simply inapposite in the disclosure context.” Id. at 90.




       5
         CREW initially brought a claim under the Administrative Procedure Act (“APA”). This
Court dismissed that claim on the ground that FECA provided CREW with an “adequate
remedy” and therefore precluded review of the FEC’s determination under the APA. CREW v.
FEC, 164 F. Supp. 3d 113, 120 (D.D.C. 2015).


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        This Court nevertheless declined to adopt CREW’s proposed rule that, to comply with

FECA, the Commission must treat all electioneering communications as indicative of an

election-related major purpose. As the Court explained:

        CREW’s citations to legislative history, past FEC precedent, and court precedent
        certainly support the conclusion that many or even most electioneering
        communications indicate a campaign-related purpose. Indeed, it blinks reality to
        conclude that many of the ads considered by the Commissioners in this case were
        not designed to influence the election or defeat of a particular candidate in an
        ongoing race. However, particularly given the FEC’s judicially approved case-by-
        case approach to adjudicating political committee status, the Court will refrain from
        replacing the Commissioners’ bright-line rule with one of its own.

Id. at 93 (citations omitted).

            2. The FEC’s Second Dismissal

        On remand, the FEC again divided three-to-three and dismissed CREW’s complaint

against AAN. J.A. 1763. The controlling Commissioners’ Statement of Reasons acknowledged

that, in light of this Court’s decision, it could no longer categorically exclude AAN’s

electioneering communications from its major-purpose calculation. Id. at 1767–68. Rather, the

Commissioners explained that they would proceed ad-by-ad and weigh several factors in

deciding whether each electioneering communication should count toward an election-related

major purpose. These factors included (1) the extent to which the ad’s language focuses on

“elections, voting, political parties,” and the like; (2) “the extent to which the ad focuses on

issues important to the group or merely the candidates referenced in the ad”; (3) the context of

the ad (but “only to the extent necessary . . . to understand better the message being conveyed”);

and (4) whether the ad “contains a call to action and, if so, whether the call relates to the . . .

issue agenda or, rather, to the election or defeat of federal candidates.” Id. at 1768.

        Before they turned to each ad, the Commissioners explained that all of the ads ran in a

time period that—while admittedly near the federal midterm elections—also preceded an



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anticipated “lame duck” congressional session. J.A. 1768–70. During that session, Congress

was expected to “consider several pieces of major legislation, many involving policy issues of

great importance to AAN” like “Bush-era tax cuts, federal spending, health care, and energy.”

Id. at 1769. And, as the Commission noted, Congress did ultimately convene a lame duck

session in December 2010 and considered some of those issues. Id. at 1769–70.

       “With that context in mind,” the controlling Commissioners then evaluated AAN’s

twenty electioneering communications. J.A. 1770. They concluded that four of the ads indicated

an election-related major purpose: those titled “Bucket,”6 “New Hampshire,” 7 “Order,” 8 and

“Extreme.” 9 Id. at 1779. “Order” and “Extreme,” for example, sought to criticize two

Democratic congressional candidates—Mike Oliverio and Annie Kuster, respectively—by

linking them with Nancy Pelosi in unfavorable ways. Id. at 1778. As the Commissioners



       6
         “We send tax money to Washington and what does Russ Feingold do with it? Eight
hundred billion dollars for the jobless stimulus. Two point five million for a healthcare plan that
hurts seniors. A budget that forces us to borrow nine million dollars. And when he had a chance
at reform, he voted against the Balanced Budget Amendment. Russ Feingold and our money.
What a mess. [Superimposed text: Russ Feingold, What a mess.]” J.A. 1773.
       7
         “Winter’s here soon. Guess Congressman Hodes has never spent nights sleepless,
unable to pay utility bills. Why else would he vote for the cap-and-trade tax? Raise electric
rates by ninety percent? Increase gas to four dollars? Cost us another two million jobs? Kelly
Ayotte would stop the cap-and-trade tax. Cold.” J.A. 1777.
       8
         “[On screen text:] If Nancy Pelosi gave an order . . . would you follow it? Mike
Oliverio would. Oliverio says he would support Pelosi in Washington. After all, Oliverio voted
himself a 33% pay raise. Oliverio voted for higher taxes. Even on gas. And Oliverio won't
repeal Obama’s $500 billion Medicare cuts. So what will Mike Oliverio do in Washington?
Whatever Nancy Pelosi tells him to.” J.A. 1778.
       9
          “[On screen text:] Nancy Pelosi is not extreme. Compared to Annie Kuster. Kuster
supported the trillion dollar government Healthcare takeover. But says it didn’t go far enough.
$525 billion in new taxes for government Healthcare. Now, Kuster wants $700 billion in higher
taxes on families and businesses. And $846 billion in job killing taxes for cap and trade. Nancy
Pelosi is not extreme. Compared to Annie Kuster.” J.A. 1778.



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explained, “[n]either ad contains a call to action, nor do they focus on changing the voting

behavior or policy stances of the named individuals.” Id. Thus, in their view, those ads were

best understood as aiming to defeat reelection of the named representatives.

       On the other hand, the Commissioners found that AAN’s sixteen other electioneering

communications did not evince an election-related purpose. Conceding that these ads were

critical of the incumbent representatives they identified, the Commissioners focused on the fact

that each ad instructed viewers to call the representative and urge him to change his vote on a

political issue, if not an actual pending bill. See id. at 1770–79. For example, the

Commissioners declined to count the cost of an ad titled “Quit Critz,” which accused then-

Pennsylvania representative Mark Critz of supporting “the Obama-Pelosi agenda that’s left us

fourteen trillion in debt.” J.A. 1770. The ad concluded with an exhortation to “[t]ell

Congressman Critz that Pennsylvania families need tax relief this November, not more

government,” and it superimposed text that instructed viewers to call Representative Critz and

tell him to vote “Yes on H.R. 4746,” the House tax-cut bill introduced earlier that year. Id. In

evaluating that ad and several similar to it, 10 the Commissioners explained that the ads’

references to “November” were “best understood as a reference to the time period in which the



       10
            For example, another tax-related ad titled “Wallpaper”:

       Congressman Kurt Schrader is wallpapering Washington with our tax money.
       Schrader spent nearly eight hundred billion on the wasteful stimulus that created
       few jobs but allowed big executive bonuses. He threw nearly a trillion at Pelosi’s
       health care takeover and voted to raise the national debt to over fourteen trillion.
       Now Congress wants to raise taxes. Call Congressman Schrader. Tell him to vote
       for a tax cut this November to stop wallpapering Washington with our tax dollars.
       [Superimposed text: “Call Congressman Schrader this November. Vote to cut
       taxes. Yes on H.R. 4746. (202) 224–3121.”]

J.A. 1771.



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lame-duck session would commence” instead of a reference to the November midterm election,

and that “the express point of [their] criticism” was “to marshal public sentiment to persuade the

officeholders to alter their voting stances.” J.A. 1772.

       Combining AAN’s spending on the four election-related ads with the $4.1 million it spent

on express advocacy yielded a sum of $5.97 million, or 22% of AAN’s total spending between

mid-2009 and mid-2011. J.A. 1779. The Commissioners ran an alternative calculation by

adding the cost of an ad called “Read This” 11—which they considered issue-focused but close to

the line—and by counting AAN’s spending over only the most recent year in question (mid-2010

to mid-2011). Id. Under that approach, “the amount of spending that indicate[d] a purpose to

nominate or elect federal candidates would constitute less than 28% of [AAN’s] total spending in

that time period.” Id. As a result, the Commissioners concluded that AAN did not have the

requisite major purpose of nominating or electing a candidate, and they therefore voted to

dismiss CREW’s complaint against AAN. 12 Id. at 1779–80.

       Soon thereafter, CREW filed a motion for an order to show cause why the FEC’s

dismissal on remand did not contravene this Court’s prior decision. Pls.’ Mot. Show Cause, No.

14-cv-1419 (Nov. 14, 2016) (ECF No. 57). The Court denied the motion. Memo. Op. & Order,

id. (Apr. 6, 2017) (ECF No. 74). To the extent that CREW’s motion relied on new legal




       11
            “[On screen text:] Rick Boucher wants to keep you in the dark. About his Washington
Cap and Trade deal. Boucher sided with Nancy Pelosi. For billions in new energy taxes. That
will kill thousands of Virginia jobs. But Rick Boucher didn’t just vote for Cap and Trade. The
Siena Club called Boucher the “linchpin” of the entire deal. Call Rick Boucher. [Phone number
at top of screen.] Tell him no more deals.” J.A. 1777.
       12
          The three Commissioners who voted to investigate AAN issued their own statement of
reasons, in which they excoriated the controlling Commissioners for “ignor[ing] the court’s
ruling and the plain language of the ads that objectively criticized candidates in the weeks
preceding the 2010 elections.” J.A. 1785.


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arguments—for example, that the Commissioners relied on a misreading of McConnell—the

Court explained that those new arguments were “properly taken up in a separate suit.” Id. at 5.

The Court further found that nothing in the Commissioners’ dismissal violated the letter of its

prior decision:

        [T]he Court never ordered the FEC to reach a particular result, or to consider any
        particular ad—or any proportion of electioneering communications—election-
        related. Instead, the Court directed the FEC to reconsider its decision without
        “exclud[ing] from its [major purpose] consideration all non-express advocacy.”
        The FEC did just that.

Id. at 6 (citation omitted).

        CREW then filed this suit against the FEC. AAN and AJS again intervened as

defendants. The parties stipulated to dismissal of the claims against AJS, and thus all that

remains is the allegation that the FEC’s dismissal of the complaint against AAN was contrary to

law. The parties’ cross-motions for summary judgment are now ripe.

 II.    Legal Standards

        Where a party challenges an FEC dismissal decision, this Court will grant summary

judgment to the challenger only if the agency’s decision was “contrary to law,” 52 U.S.C.

§ 30109(a)(8)(C), meaning either that “the FEC dismissed the complaint as a result of an

impermissible interpretation of [FECA],” or that “the FEC’s dismissal of the complaint, under a

permissible interpretation of the statute, was arbitrary or capricious, or an abuse of discretion.”

Orloski v. FEC, 795 F.2d 156, 161 (D.C. Cir. 1986). This same standard of review applies to all

FEC decisions, whether they be unanimous or determined by tie vote. In re Sealed Case, 223

F.3d 775, 779 (D.C. Cir. 2000). This is because the Commissioners voting for dismissal

“constitute a controlling group for purposes of the decision,” and so their statement of reasons

“necessarily states the agency’s reasons for acting as it did.” NRSC, 966 F.2d at 1476.




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       In evaluating whether a group has an election-related major purpose, the Commission is

construing the term “political committee” as it appears in FECA—a statute that the Commission

is charged with enforcing. The Court thus reviews the Commission’s determination of whether

an entity is a political committee using the framework set forth in Chevron U.S.A. Inc. v. Natural

Resources Defense Council, 467 U.S. 837 (1984). See, e.g., Orloski, 795 F.2d at 161–62. Under

Chevron, the Court at “Step 1” must use “traditional tools of statutory interpretation” to decide

“whether Congress has directly spoken to the precise question at issue.” 467 U.S. at 842–43 &

n.9; see also Pharm. Research & Mfrs. Of Am. v. Thompson, 251 F.3d 219, 224 (D.C. Cir. 2001)

(examining “text, structure, purpose, and legislative history”). If so, then Congress’s resolution

must be given legal effect no matter what the agency says to the contrary. Chevron, 467 U.S. at

843. If, on the other hand, the statute is silent or ambiguous on an issue, the Court proceeds to

“Step 2” and decides whether the agency’s resolution of the issue was “a reasonable policy

choice for the agency to make.” Id. at 845. While the Court’s review at Step 1 is plenary, at

Step 2 it is “highly deferential.” Nat’l Rifle Ass’n of Am., Inc. v. Reno, 216 F.3d 122, 137 (D.C.

Cir. 2000).

       This Court also reviews whether the FEC’s dismissal was “arbitrary or capricious, or an

abuse of discretion.” Orloski, 795 F.2d at 161. This standard largely overlaps with Chevron

Step 2; the same core question is whether the agency analyzed the problem reasonably. See

Pharm. Research & Mfrs. of Am. v. FTC, 790 F.3d 198, 209 (D.C. Cir. 2015). The Court will

hold an FEC decision unlawful if it “entirely failed to consider an important aspect of the

problem,” it “offered an explanation for its decision that runs counter to the evidence before [it],”

or “is so implausible that it could not be ascribed to a difference in view or the product of agency




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expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Autom. Ins. Co., 463

U.S. 29, 43 (1983).

  III. Analysis

       CREW contends that the controlling Commissioners’ analysis on remand rested on legal

errors—some repeated and some new. It first claims that the Commissioners “fabricated” a

multifactor test that allowed it to disregard nearly all of AAN’s electioneering advertisements, in

violation of this Court’s prior decision. Pls.’ Mot. Summ J. at 22. More fundamentally, says

CREW, the Commission’s dismissal rested on a misinterpretation of Buckley and McConnell

because it invoked those cases as a reason to exclude electioneering communications from its

major purpose analysis. Id. at 28–33. In CREW’s view, those cases require just the opposite

“because every electioneering communication, by reason of its being an electioneering

communication, is ‘specifically intended to affect election results.’” Pls.’ Reply at 13–14

(quoting McConnell, 540 U.S. at 127). Finally, CREW argues that the Commission’s analysis

was arbitrary and capricious because it ignored contextual evidence highly relevant to the ads’

purpose and instead “cherry picked information” in order to “excus[e] AAN from political

reporting.” Pls.’ Mot. Summ. J. at 41.

       As the Court explained in denying CREW’s motion for a show-cause order, the

controlling Commissioners did not repeat their mistake of drawing a bright line between express

and issue advocacy. The Court nevertheless finds legal error in the Commission’s approach to

analyzing AAN’s status as a political committee. While the controlling Commissioners did not

categorically refuse to count AAN’s electioneering advertisements as indicative of an election-

related major purpose, the Commissioners used a multifactor test that started from a blank slate

in considering the content of each ad, with no apparent regard for the highly relevant fact that




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each ad fell cleanly within Congress’s definition of an “electioneering communication.” In the

Court’s view, that approach violates the unambiguous directive of Congress—made clear in the

Bipartisan Campaign Reform Act of 2002—that electioneering communications presumptively

have an election-related purpose. In turn, to the extent that the Commission considers an entity’s

spending in assessing its major purpose, it must presumptively treat spending on electioneering

ads as indicating a purpose of nominating or electing a candidate.

       A. In FECA and BCRA, Congress Made Clear that Electioneering Ads Presumptively
          Have a Purpose of Nominating or Electing a Federal Candidate

       To understand the Court’s conclusion, begin with the plain text of FECA. Its definition

of “political committee” is unambiguously broad: it covers any entity that receives or spends

over $1,000 within one calendar year for the purpose of influencing an election. If this is all the

Court had to go on—and if it could disregard Buckley’s constitutional concerns—it would

conclude that AAN is a political committee under the clear terms of FECA, and therefore that the

Commission was bound to determine as much. See Akins v. FEC, 101 F.3d 731, 740 (D.C. Cir.

1996) (en banc) (with respect to the definition of “political committee,” “it cannot be[]

contended that the statutory language itself is ambiguous” (emphasis added)), vacated on other

grounds, 524 U.S. 11 (1998).

       Of course, after Buckley the Commission is not free to rely on this broad statutory

definition alone. The question, then, is how the Supreme Court’s imposition of the major

purpose requirement changes things. Here, the context of Buckley’s holding is important. The

Buckley Court faced a wide-ranging constitutional challenge to FECA after it was amended in

1974. Before reaching the Act’s disclosure requirements, the Court first confronted the Act’s

$1,000 annual limit on expenditures “relative to a clearly identified candidate during a calendar

year.” 424 U.S. at 39. The Court attempted to narrow this language to avoid vagueness



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problems under the First Amendment by construing it “to apply only to expenditures for

communications that in express terms advocate the election or defeat of a clearly identified

candidate for federal office.” Id. at 44. Even with that narrowing construction, however, the

Court found the provision invalid because the government’s purported interest “in preventing

corruption and the appearance of corruption” did not support such a broad speech restriction. Id.

at 45.

         By contrast, the Court upheld several of FECA’s disclosure requirements. But it imposed

narrowing constructions on those requirements to avoid problems of vagueness and overbreadth

under the First Amendment. For the disclosure requirements triggered by independent

expenditures, the Court worried that the Act’s definition of “expenditure”—which required only

a purpose of “influencing” an election or nomination—could be read to cover “both issue

discussion and advocacy of a political result.” Id. at 79. So “[t]o insure that the reach of the

[provision] is not impermissibly broad,” the Court construed the term “expenditure” “to reach

only funds used for communications that expressly advocate the election or defeat of a clearly

identified candidate.” Id. at 80. This meant that, to trigger the Act’s disclosure requirements, a

communication would need to contain “express words of advocacy of election or defeat, such as

‘vote for,’ ‘elect,’ ‘support,’ ‘cast your ballot for,’ ‘Smith for Congress,’ ‘vote against,’ ‘defeat,’

[or] ‘reject,’” Id. at 44 n.52; see id. at 80 & n.108. These expressions have since been called

Buckley’s “magic words.” McConnell, 540 U.S. at 126.

         The Buckley Court then reached a similar conclusion with respect to disclosure

requirements triggered by “political committee” status. As the Court explained:

         The general requirement that “political committees” and candidates disclose their
         expenditures could raise similar vagueness problems, for “political committee” is
         defined only in terms of amount of annual “contributions” and “expenditures,” and
         could be interpreted to reach groups engaged purely in issue discussion. The lower



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       courts have construed the words “political committee” more narrowly. To fulfill
       the purposes of the Act they need only encompass organizations that are under the
       control of a candidate or the major purpose of which is the nomination or election
       of a candidate.

424 U.S. at 79. Thus, the “major purpose” requirement was born.

       Absent any congressional action in the decades since Buckley, this Court might find it

unclear whether ads (1) mentioning candidates and (2) airing near elections but (3) not using

Buckley’s “magic words” should count toward an election-related major purpose. But in passing

the Bipartisan Campaign Reform Act of 2002 (“BCRA”), Congress unambiguously expressed its

will on this issue and foreclosed the approach that the Commission took here.

       In BCRA, Congress sought to mitigate two perceived problems with federal election

financing that were prompted (at least in part) by Buckley. Title I of the Act was “Congress’

effort to plug the soft-money loophole”—that is, the ability to have money contributed to state

and local political parties effectively channeled to national parties while evading FECA’s

contribution limits and disclosure requirements. McConnell, 540 U.S. at 133. Title II, the

provision relevant here, aimed to stem the tide of advertisements nominally targeted at issues but

airing near elections—a tide that swelled after Buckley. Id. at 122. Specifically, “[a]s a result of

[Buckley’s] strict reading of the statute, the use or omission of ‘magic words’ such as ‘Elect John

Smith’ or ‘Vote Against Jane Doe’ marked a bright statutory line separating ‘express advocacy’

from ‘issue advocacy.’” Id. at 126. Yet, in Congress’s view, those “two categories of

advertisements proved functionally identical in important respects. Both were used to advocate

the election or defeat of clearly identified federal candidates, even though the so-called issue ads

eschewed the use of magic words.” Id. And, far more than a theoretical problem, the collapsed

distinction between express advocacy and issue advocacy allowed entities—mostly corporations

and unions—to spend “hundreds of millions of dollars” on ads leading up to elections that “were



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unregulated under FECA.” Id. at 127–28. “Moreover, though ostensibly independent of the

candidates, the ads were often actually coordinated with, and controlled by, the campaigns.” Id.

at 131. The Senate Committee on Governmental Affairs conducted “an extensive investigation

into the campaign practices in the 1996 federal elections” and—while divided along party lines

regarding some of these practices—agreed that the proliferation of so-called issue ads was a

serious problem. Id. at 129.

       In response, BCRA created a new category of political communications called

“electioneering communications.” The statute’s definition of these communications “replace[d]

the narrowing construction of FECA’s disclosure provisions adopted by this Court in Buckley”

by providing three clear criteria that triggered regulation. Id. at 189. Instead of covering only

“communications expressly advocating the election or defeat of particular candidates,” the new

disclosure requirements covered ads that (1) referenced to a candidate for federal office, (2) ran

within 60 days of a federal election, and (3) targeted the relevant electorate. And the Act

imposed disclosure requirements on entities who funded those communications. Id. at 190–91.

       This legislative history leaves little doubt that Congress saw electioneering

communications as generally aimed at swaying voters. The Supreme Court relied heavily on this

history in McConnell, where it upheld BCRA’s disclosure requirements against First

Amendment challenge. 540 U.S. at 189–202 (controlling opinion of Stevens & O’Connor, JJ.).

The Court’s reasons for doing so further suggest that electioneering communications

presumptively have an electioneering purpose. In rejecting the argument that BCRA’s definition

of “electioneering communications” was unconstitutionally vague and overbroad, the Court

explained that Buckley’s distinction between express and issue advocacy “was the product of

statutory interpretation rather than a constitutional command.” Id. at 192. In the Court’s view,




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BCRA’s definition of electioneering communications created no similar issues of vagueness or

overbreadth—its requirements were “easily understood and objectively determinable.” Id. at

194. Moreover, putting aside Buckley and starting from first principles, the Court explained that

the notion of “a rigid barrier between express advocacy and so-called issue advocacy” could not

be “squared with [its] longstanding recognition that the presence or absence of magic words [i.e.,

“vote for Jane Doe” or “vote Jane Doe out of office”] cannot meaningfully distinguish

electioneering speech from a true issue ad.” Id. at 193. As evidenced by their timing, their

identification of a specific candidate, and their targeting of the relevant electorate, it was clear

that electioneering communications—magic words or not—“were specifically intended to affect

election results.” Id. at 127. In short, the Supreme Court’s reading of BCRA corroborates that

Congress deemed electioneering communications as paradigmatically aimed at swaying voters. 13

       Even ignoring all of this legislative history and Supreme Court analysis, Congress’s

intent regarding these ads is manifest in its very choice of labelling them “electioneering

communications.” Instead of using a neutral term like “communications made near federal

elections,” Congress chose a label that by its plain meaning deems the ads to “take part actively

and energetically in a campaign to be elected to public office.” Electioneer, Oxford Dictionary

of English 565 (3d ed. 2010); see also Electioneer, American Heritage Dictionary (5th ed. 2018)

(“To work actively for a candidate or political party.”). Congress’s terms, like its statutory



       13
          While McConnell was a fractured decision, a majority of the Justices voted to uphold
the disclosure requirements for the reasons stated in the controlling opinion written by Justices
Stevens and O’Connor. See 540 U.S. at 201 (opinion of Stevens & O’Connor, J.J., joined by
Souter, Ginsburg & Breyer, J.J.); see also id. at 286 n.*, 321 (opinion of Kennedy, J., joined by
Rehnquist, C.J., and Scalia, J.) (voting to uphold the relevant disclosure provisions). And all but
one of the Justices in Citizens United relied on the same rationale in rejecting a challenge to
BCRA’s electioneering-related disclosure requirements as applied to certain political ads. 558
U.S. at 368–69; id. at 396 (Stevens, J., concurring in part and dissenting in part).



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headings, surely “supply clues” about its intent. Yates v. United States, 135 S. Ct. 1074, 1083

(2015); see also, e.g., Trainmen v. Baltimore & Ohio R.R. Co., 331 U.S. 519, 528–29 (1947)

(explaining that “the title of a statute and the heading of a section” are “tools available for the

resolution of a doubt”). Here, the clue is hardly subtle: Why would Congress call something an

“electioneering communication” if that thing did not generally have a “purpose to nominate or

elect a candidate,” in the sense meant by Buckley?

       It is true that BCRA did not touch the text of FECA’s definition of “political committee.”

But a later congressional act can inform the meaning of an earlier one and, importantly here, can

clarify existing ambiguities. “At the time a statute is enacted, it may have a range of plausible

meanings,” but “subsequent acts can shape or focus those meanings. . . . This is particularly so

where the scope of the earlier statute is broad but the subsequent statutes more specifically

address the topic at hand.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 143

(2000); see also United States v. Estate of Romani, 523 U.S. 517, 530–31 (1998) (“[A] specific

policy embodied in a later federal statute should control our construction of the priority statute,

even though it had not been expressly amended.”). Here, by declaring that (by and large)

electioneering communications have an inherent purpose of influencing a federal election,

Congress has clarified that the broad term “political committee”—even after Buckley—should

presumptively include organizations that are primarily in the business of funding electioneering

communications.

       Why only “presumptively”? Despite the foregoing evidence of Congress’s intent

regarding electioneering ads, the Court is not convinced that Congress intended to categorically

foreclose the Commission from declining to treat a particular electioneering ad as supporting an

election-related major purpose. In rejecting a facial challenge to BCRA’s electioneering




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restrictions, McConnell recognized that some ads falling within BCRA’s definition of

“electioneering advertisements” may not have a true “electioneering purpose,” even if “the vast

majority of ads clearly had such a purpose.” 540 U.S. at 206 (“The precise percentage of issue

ads that clearly identified a candidate and were aired during those relatively brief preelection

timespans but had no electioneering purpose is a matter of dispute between the parties and

among the judges on the District Court [below].”).

       In other words, Congress seems to have left open a small interpretive gap after BCRA:

one that allows the Commission, using its case-by-case approach, to deem an extraordinary

“electioneering communication” as lacking an election-related purpose. The following ad, for

example, would seem to fall within the letter of BCRA’s definition: It runs 60 days before a

midterm election; it does not mention the election or even indirectly reference it (e.g., by

cabining the message’s timeframe to “this November”); the meat of the ad discusses the

substance of a proposed bill; the ad urges the viewer to call a named incumbent representative

and request that she vote for the bill; but it does not make any reference to the incumbent’s prior

voting history or otherwise criticize her. See 52 U.S.C. § 30104(f)(3)(A). That might be the sort

of electioneering communication that could, under the Commission’s case-by-case approach,

properly be deemed lacking an election-related purpose under Buckley despite meeting BCRA’s

definition of “electioneering communication.”

       But the Court expects such an ad to be a rare exception. Congress has made a judgment

that run-of-the-mill electioneering communications have the purpose of influencing an election;




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an ad meeting the statutory definition of an electioneering communication generally indicates a

purpose of nominating or electing a candidate.

       B. The Commission’s Analysis Did Not Give Effect to Congress’s Clear Intent

       The controlling Commissioners’ multifactor analysis ignores Congress’s expressed intent

regarding electioneering advertisements. The very first sentence of their multifactor test speaks

volumes: “In evaluating major purpose, our starting point is the language of the communication

itself.” J.A. 1767. Starting with the language of a political ad might be justifiable if the ad aired

nowhere near a federal election, or if it did not mention a candidate. But, as just explained, when

it comes to electioneering communications Congress has already determined that they are

presumptively designed to influence elections. The remainder of the Commission’s test in no

way accounts for that fact:

       [W]e look at the ad’s specific language for references to candidacies, elections,
       voting, political parties, or other indicia that the costs of the ad should be counted
       towards a determination that the organization’s major purpose is to nominate or
       elect candidates. We also examine the extent to which the ad focuses on issues
       important to the group or merely on the candidates referenced in the ad.
       Additionally, we consider information beyond the content of the ad only to the
       extent necessary to provide context to understand better the message being
       conveyed. Finally, we ascertain whether the communication contains a call to
       action and, if so, whether the call relates to the speaker's issue agenda or, rather, to
       the election or defeat of federal candidates.

J.A. 1767–68. The Commission may be permitted to use these or similar factors in assessing

whether an electioneering ad overcomes the presumption that it is aimed to elect a candidate.

But engaging in a holistic, de novo review of the ad based on those factors allows the

Commission to treat run-of-the-mill electioneering ads—those highly critical of a candidate’s

positions but lacking the “magic words” directing viewers to vote him out of office—as not




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indicating an electioneering purpose. That framework cannot be squared with Congress’s views

on the issue.

       Indeed, the controlling Commissioners’ analysis of AAN’s ads in this case is strong

evidence that their multifactor approach, if anything, builds in a presumption that runs in the

opposite direction of what Congress intended—i.e., that it tilts the balance in favor of finding

that electioneering communications do not have an electioneering purpose. Take the ad titled

“Skype,” which identified Congresswoman Dina Titus, a Democrat from Nevada who was

narrowly defeated in her 2010 reelection bid:

       Person l: Hey, what’s up?

       Person 2: Hey. You have to check out the article I just sent you. Apparently
       convicted rapists can get Viagra paid for by the new health care bill.

       Person 1: Are you serious?

       Person 2: Yep. I mean, Viagra for rapists? With my tax dollars? And
       Congresswoman Titus voted for it.

       Person 1: Titus voted for it?

       Person 2: Yep. I mean, what is going on in Washington?

       Person 1: In November, we need to tell Titus to repeal it. [Superimposed text:
       “Tell Congresswoman Titus to vote for repeal in November. Vote Yes on H.R.
       4903. (202) 225-3252.”]

J.A. 1776.

       The controlling Commissioners did not find that this ad (nor any others mentioning

healthcare) had an election-related purpose. “The criticisms contained in the ads,” they

explained, “are couched in terms of past votes taken by the named officeholder and are

accompanied by calls to action designed to influence the officeholders’ votes in the lame-duck

session.” J.A. 1776. Seriously? Is it really plausible that the attack on Titus’s past vote for the




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Affordable Care Act—for supplying “Viagra to rapists” no less—was designed to mobilize

Titus’s constituents to change her view on the Obama Administration’s signature legislative

initiative, rather than to oust her from office for casting that vote? And would a sophisticated

organization like AAN conceivably invest millions of dollars on ads in an effort to get the

Democratic-controlled House that had just passed the Act to turn around and repeal it only

months later? Perhaps the ad could be charitably read as having a dual purpose—maybe some

viewers would indeed be motivated to call Titus and tell her to vote for a healthcare repeal bill if

it came up in the anticipated lame-duck session. (That turned out to be a big “if”—the

Commission cites no evidence, and the Court is aware of none, that the House actually

considered a repeal bill during the December lame-duck session.) But surely the primary

purpose of this ad was to convince viewers to vote against Titus. Indeed, the ad is awfully close

to the hypothetical posed by the Supreme Court in McConnell to highlight the illusory distinction

between express advocacy and issue advocacy: An ad that, instead of urging viewers to “vote

against Jane Doe,” “condemned Jane Doe’s record on a particular issue before exhorting viewers

to ‘call Jane Doe and tell her what you think.’” 540 U.S. at 127 (quoting 251 F. Supp. 2d 176,

304 (D.D.C. 2003) (Henderson, J., concurring in the judgment in part and dissenting in part)).

That the Commissioners readily characterized “Skype” and similar ads as unrelated to elections

demonstrates the mismatch between their framework and Congress’s understanding of

electioneering ads. Their approach in fact flirts with a reverse “magic words” test:

electioneering communications that harangue a candidate are exempt so long as they instruct the

viewer to “call” her representative rather than to “vote against” him.

       None of the Commission’s arguments in favor of its approach are availing. As it did

when justifying its first dismissal, the Commission cites WRTL II, which (again) found that




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spending on electioneering communications could be restricted only if the ads were, as an

objective matter, “the functional equivalent of express advocacy,” id. at 469. Relying on that

case, the Commission insists that even if it may not apply a categorical rule that turns on whether

the ad contains express advocacy (or the functional equivalent), it may consider whether the ad

resembles express advocacy in deciding whether it has an election-related purpose. FEC’s Mot.

Summ. J. at 40 (“[The Court’s] determination did not preclude Commissioners from analyzing

AAN’s communications by reference to their content, consistent with the Supreme Court’s

analysis in WRTL, when considering whether the ads were electoral in nature.”). That’s true so

far as it goes: the Commission is not outright forbidden from considering the content of an

electioneering communication. But because of BCRA, that consideration must follow a strong

presumption that an electioneering communication indicates a purpose of electing a candidate.

       More fundamentally, the Commission continues to overread WRTL II for the idea that

the primary goal in evaluating AAN’s ads should be to determine whether the ads’ content bears

“indicia of express advocacy.” FEC’s Mot. Summ. J. at 39 (quoting WRTL II, 551 U.S. at 470).

WRTL II focused narrowly on an electioneering communication’s content, to the exclusion of

“contextual factors” like the ad’s timing, for a particular reason: the First Amendment demanded

an objective, narrowly tailored standard for bans on speech. 551 U.S. at 473; see id. at 469–70

(examining whether ad’s content had “indicia of express advocacy”). But, again, McConnell and

Citizens United v. FEC—the latter of which came after WRTL II—foreclose any argument that

in the disclosure setting the First Amendment requires that a regulated communication contain

the functional equivalent of express advocacy. See also Independence Institute v. FEC, 216 F.

Supp. 3d 176, 193 (D.D.C. 2016) (Millett, J.) (in rejecting a constitutional challenge to the donor

disclosure requirement as applied to a particular electioneering communication, explaining that




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the challenger’s “proposed constitutional exception for ‘genuine’ issue advocacy is entirely

unworkable as a constitutional rule”). In other words, the Supreme Court has seen no problem

with disclosure requirements triggered solely by an electioneering communication’s context: its

timing, its reference to a candidate, and its viewership. And Congress’s view, made plain in

BCRA, is that the presence of those contextual factors inherently suggests an election-related

purpose.

       The Commission falls back on Buckley. In the Commission’s view, the fact that Buckley

read FECA to avoid regulating “groups engaged purely in issue discussion,” 424 U.S. at 79,

means that the Commission must evaluate the content of an entity’s political ads to determine

whether the ads are, in fact, “issue discussion.” But again, Congress in BCRA cabined some of

the Commission’s discretion by defining a subset of political ads—electioneering

communications—that by definition are related to federal elections. After BCRA, the

Commission cannot review electioneering communications de novo to determine whether they

qualify as pure issue discussion. The statute emphatically placed electioneering advertisements

on the election-related side of Buckley’s line, and the Commission must pay heed to that

placement when evaluating the major purpose of an entity that spends money on electioneering

communications.

       Finally, the Commission emphasizes this Court’s prior refusal to impose a bright-line

rule—one that would require it to count all electioneering communications toward an election-

related major purpose. According to the Commission, that refusal implicitly endorsed its

approach to electioneering communications. FEC’s Mot. Summ. J. at 36. Not so. To be sure,

the Court continues to believe that an inflexible rule would be incompatible with the FEC’s

recognized power to resolve major-purpose questions on a case-by-case basis. Such a rule would




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also conflict with the Supreme Court’s recognition in McConnell that some “issue ads” might

really be just that, even if run near elections. That does not mean, though, that the Commission

has unfettered discretion to judge electioneering ads. Rather, FECA and BCRA make clear that

Congress intended to foreclose the Commission from applying a major-purpose framework that

does not, at a minimum, presumptively consider spending on electioneering ads as indicating an

election-related major purpose.14 The Commission may in special circumstances conclude that

an electioneering ad does not have such a purpose. But given Congress’s recognition that the

“vast majority” of electioneering ads have the purpose of electing a candidate, the Commission’s

exclusion of electioneering ads from its major-purpose analysis should be the rare exception, not

the rule. McConnell, 540 U.S. at 206; see also CREW, 209 F. Supp. 3d at 93 (“[I]t blinks reality

to conclude that many of the ads considered by the Commissioners in this case were not designed

to influence the election or defeat of a particular candidate in an ongoing race.”).

       Having found a legal error in the Commissioners’ approach, the appropriate remedy here

is to remand this matter to the Commission. The Court appreciates that the Commission may, on

remand, yet again exclude from its analysis some of the ads that it previously excluded. But

because the controlling Commissioners did not begin with a presumption that an electioneering

ad evinces an election-related purpose, the Court is not so confident that they would reach the




       14
          This is not to say that spending on advertisements is the sole relevant factor in
determining an entity’s major purpose. The point here is that to the extent that spending on
advertising is relevant—and surely it is to some degree—the Commission must account for
spending in a way that reflects an electioneering ad’s presumptive purpose of affecting an
upcoming election.



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same outcome on remand to warrant affirming their decision under the principle of “harmless

error.”15

IV.     Conclusion

        The Court recognizes that the Commission, like all executive agencies, must comply with

directives from the two other branches of government—directives that sometimes push the

agency in opposite directions. The problem here is that the FEC has equated two directives that

are plainly unequal in their relevance to the issue at hand. Congress decades ago laid down a

clear, broad definition of the term “political committee” in FECA that would obviously capture

AAN; the Supreme Court in Buckley then cabined that definition in a way that requires the

Commission to conduct a major purpose analysis. But Congress later clarified, through BCRA,

that it viewed the vast majority of electioneering communications as corroborating a purpose of

electing candidates to federal office. And while the Supreme Court in several cases has struck

down other aspects of FECA and BCRA, it has never suggested that its constitutional concerns

apply in the realm of disclosure requirements. Indeed, the Supreme Court has now twice

reaffirmed that there is no constitutional distinction between issue-based and express advocacy in

the disclosure context. Absent such a distinction, FECA and BCRA require the agency to

presume that spending on electioneering communications contributes to a “major purpose” of




        15
           Because the Administrative Procedure Act instructs courts to take “due account . . . of
the rule of prejudicial error,” 5 U.S.C. § 706, courts reviewing agency action under that Act will
not remand to the agency if “the agency’s mistake did not affect the outcome.” PDK Labs., Inc.
v. DEA, 362 F.3d 786, 799 (D.C. Cir. 2004). Though FECA contains no express requirement of
prejudice, courts have invoked the principle in reviewing an FEC decision. See, e.g., Level the
Playing Field v. FEC, 232 F. Supp. 3d 130, 142–43 (D.D.C. 2017). The Court therefore assumes
that, in theory, a harmless legal error would not require remanding this case to the Commission.


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nominating or electing a candidate for federal office, and, in turn, to presume that such spending

supports designating an entity as a “political committee” under FECA.

       Because the Commission failed to apply those presumptions, its dismissal of CREW’s

complaints against AAN was “contrary to law.” The Court, accordingly, will grant CREW’s

motion for summary judgment, deny the FEC’s and AAN’s cross-motions, and direct the

Commission to conform with this declaration within 30 days. 52 U.S.C. § 30109(a)(8)(C). If the

FEC does not timely conform with the Court’s declaration, CREW may bring “a civil action to

remedy the violation involved in the original complaint.” Id. A separate Order accompanies this

Memorandum Opinion.




                                                             CHRISTOPHER R. COOPER
                                                             United States District Judge

Date: March 20, 2018




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON, et al.,

                       Plaintiffs,

                       v.                        Case No. 16-cv-2255 (CRC)

 FEDERAL ELECTION COMMISSION,

                       Defendant,

 AMERICAN ACTION NETWORK, INC.,

                       Intervenor Defendant.


                                           ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

ORDERED that:

       1. Defendant Federal Election Commission’s Motion for Summary Judgment (ECF No.

28) is DENIED.

       2. Intervenor-Defendant American Action Network’s Motion for Summary Judgment

(ECF No. 30) is DENIED.

       3. Plaintiffs’ Cross-Motion for Summary Judgment (ECF Nos. 31 & 32) is GRANTED.

       4. Defendant Federal Election Commission shall conform with the Court’s declaration

within 30 days, in accordance with 52 U.S.C. § 30109.

       SO ORDERED.


                                                         CHRISTOPHER R. COOPER
                                                         United States District Judge
Date: March 20, 2018



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